                                          Case 3:11-cv-01814-RS Document 143-1 Filed 01/15/20 Page 1 of 1




                                   1                                      UNITED STATES DISTRICT COURT

                                   2                                     NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     YAN,                                                Case No.: 11-cv-01814-RS
                                                           Plaintiffs,
                                   5
                                                                                             CERTIFICATE OF SERVICE
                                                   v.
                                   6

                                   7     FU,
                                                           Defendants.
                                   8

                                   9

                                  10   I, the undersigned, hereby certify that:

                                  11       (1)      I am an employee in the Office of the Clerk, U.S. District Court, Northern District of
                                                    California; and
                                  12
Northern District of California
 United States District Court




                                  13       (2)      On 1/15/2020, I SERVED a true and correct copy(ies) of the attached, by placing said
                                                    copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by
                                  14                depositing said envelope in the U.S. Mail, or by placing said copy(ies) into an
                                                    interoffice delivery receptacle located in the Clerk’s office.
                                  15

                                  16
                                        demas W yan
                                  17    100 Pine St #1250
                                        San Francisco, CA 94111
                                  18
                                        Tony Fu
                                  19    5813 Geary Boulevard
                                        PMB 188
                                  20    San Francisco, CA 94121
                                  21

                                  22   Dated: 1/15/2020

                                  23
                                                                                         Susan Y. Soong
                                  24                                                     Clerk, United States District Court
                                  25
                                                                                         By:________________________
                                  26
                                                                                         Corinne Lew, Deputy Clerk to
                                  27                                                     the Honorable Richard Seeborg

                                  28
                                       Service_Certificate _CRD
                                       rev. August 2018
